
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-2344

                            BOSTON AND MAINE CORPORATION,

                                Plaintiff - Appellant,

                                          v.

                     BROTHERHOOD OF MAINTENANCE OF WAY EMPLOYEES,

                                Defendant - Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                          Cummings* and Cyr, Circuit Judges.
                                             ______________

                                _____________________

               David  A.  Handzo,  with  whom Daniel  F.  Driscoll,  Smith,
               _________________              ____________________   ______
          Elliott, Smith and Garmey, John H. Broadley, Andrew J. McLaughlin
          _________________________  ________________  ____________________
          and Jenner &amp; Block were on brief for appellant.
              ______________
               Richard S. Edelman, with whom John  O'B. Clarke, Jr., Donald
               __________________            ______________________  ______
          F. Griffin, Melissa B. Kirgis and Highsaw, Mahoney &amp; Clarke, P.C.
          __________  _________________     _______________________________
          were on brief for appellee.



                                 ____________________

                                   August 30, 1996
                                 ____________________


                              
          ____________________

          *  Of the Seventh Circuit, sitting by designation.














                    TORRUELLA, Chief Judge.   Plaintiff-Appellant Boston  &amp;
                    TORRUELLA, Chief Judge.
                               ___________

          Maine  Corporation (the  "B&amp;M") challenges  the district  court's

          denial of its motion for summary judgment and concurrent grant of

          summary   judgment   for   Defendant-Appellee    Brotherhood   of

          Maintenance  of  Way  Employees  (the  "BMWE").     The  B&amp;M  had

          challenged the  enforcement of certain of Public Law Board 4469's

          awards  to  the  BMWE-affiliated  claimants.    The  BMWE  sought

          enforcement of the same awards, which the district court granted.

          We affirm the judgment of the district court.

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    In  March  1986,  the  BMWE-member  employees exercised

          their  right to  self-help in  a dispute  with two  carriers, the

          Maine  Central  Railroad Company  (the  "MEC")  and the  Portland

          Terminal  (the "PT").   The MEC's  and the  PT's BMWE-represented

          employees  asked the employees of the B&amp;M to withhold their labor

          from the B&amp;M to assist them in resolving their dispute.  In April

          1986, the B&amp;M issued notices that jobs left vacant by sympathetic

          strikers would be permanently  abolished, including the jobs left

          vacant by the claimants.  On April 19, 1986, the B&amp;M directed the

          striking employees to return to work by April 25, 1986,  or their

          positions  would  be  filled  by  permanent  replacements.    The

          claimants did not return to work that April.

                    When  the BMWE's strike  against the MEC  was halted on

          May 16,  1986, the claimants attempted  to return to  work.  When

          they tried to return to  work, they were informed that they  were

          not entitled to return  to work because they had  forfeited their


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          seniority  by  not  complying  with  Rule  13  of  the collective

          bargaining   agreement   ("the   CBA"),   which   required   that

          "[e]mployees  laid off by reason of  force reduction, desiring to

          retain their seniority  rights, must, within  ten (10) days  from

          [the] date laid off, file their  name and address, in writing, in

          triplicate, with  their  immediate  supervising  officer."    The

          claimants were not  permitted to  return to  work until  sometime

          after  July 23, 1986, when, by memorandum, the B&amp;M restored their

          seniority in  compliance with  a permanent injunction  granted by

          the district court in Railway Labor Executives' Ass'n v. Guilford
                                _______________________________    ________

          Transp. Indus., 639  F. Supp. 1092  (D. Me.),  aff'd in part  and
          ______________                                 __________________

          rev'd  in part  sub  nom., Railway  Labor  Executives' Assoc.  v.
          _________________________  __________________________________

          Boston &amp;  Me. Corp.,  808 F.2d  150, 160  (1st Cir. 1986),  cert.
          ___________________                                         _____

          denied, 484 U.S.  830 (1987).   Although this  court vacated  the
          ______

          injunction against  The B&amp;M,  holding that the  dispute involving

          the BMWE employees  was one pertaining  to the interpretation  or

          application  of  the  CBA  and  was  thus  within  the  exclusive

          jurisdiction of  the  appropriate adjustment  boards to  resolve.

          However, at no time  after this court vacated the  injunction did

          the  B&amp;M rescind  its  July 23,  1986,  memorandum restoring  the

          claimants' seniority.

                    In  accordance  with the  mandate  of  this court,  the

          district  court  entered  an   order  referring  the  contractual

          disputes concerning the B&amp;M  to "the National Railroad Adjustment

          Board  or Public  Law  Board, whichever  is  applicable."   As  a

          result, on February 13,  1989, the BMWE and the  B&amp;M entered into


                                         -3-














          an  agreement to establish a Public Law Board pursuant to Section

          3 Second  of the Railway Labor  Act (the "RLA"), 45  U.S.C.   153

          Second, to  hear the 175 disputes  at issue.  In  March 1989, the

          National Mediation Board (the "NMB") established Public Law Board

          4669 to  hear the disputes and  appointed Edwin H. Benn  from the

          Board.   On May 10,  1993, Referee Benn  resigned as  the neutral

          member  of Public Law Board 4669.   The BMWE and the B&amp;M partisan

          members on the Board agreed to  select Elizabeth C. Wesman as the

          neutral  member to replace Referee  Benn, and on  August 3, 1993,

          she was duly appointed by the NMB.

                    With  Wesman as  the neutral  member, Public  Law Board

          4669 heard five cases (Nos. 6,  7, 9, 10 and 11) and subsequently

          Wesman issued proposed awards  in each of the five cases.  Public

          Law Board sustained, in part, the claims in Awards 6, 7, 9 and 10

          --  with the B&amp;M partisan  member dissenting --  finding that the

          claimants had been erroneously deprived of their seniority by the

          B&amp;M's actions.  These  four awards ordered the B&amp;M  to compensate

          the claimants in those cases with

                      back pay for wages  [each claimant] . . .
                      would have earned,  but for the erroneous
                                          ___ ___
                      removal  of  his  seniority  on  May  19,
                      1986[,]  for  the  interval between  that
                      date and  the date  of his assumption  of
                      the position  to  which he  was  properly
                      entitled,  following  restoration of  his
                      seniority on  July 23, 1986.   [Claimants
                      are] .  . . also entitled  to restoration
                      of any  vacation rights [they] .  . . may
                      have  lost   as  a  consequence   of  the
                      erroneous  removal  of  [their]  .   .  .
                      seniority.




                                         -4-














          The  B&amp;M has  refused to  pay the  back pay  ordered by  the four

          awards (Nos. 6, 7, 9, and 10) of Public Law Board 4669.  Instead,

          the B&amp;M filed  a motion  for summary judgment  with the  district

          court seeking to have the awards set aside; in response, the BMWE

          filed a  motion  for summary  judgment seeking  to enforce  these

          awards.   The B&amp;M now appeals  the district court's denial of its

          motion, as well  as the  district court's decision  to grant  the

          BMWE's motion.   Like the district  court before us, we  refer to

          Award No. 6  only, since it is the lead  decision in this matter,

          the reasoning of  which is incorporated in  Awards Nos. 7,  9 and

          10.

                                  STANDARD OF REVIEW
                                  STANDARD OF REVIEW
                                  __________________

                    We  examine  a  grant  of  summary  judgment  de  novo,
                                                                  ________

          applying  the same  decisional standards  as the  district court.

          Wyner v. North Am. Specialty Ins. Co., 78 F.3d 752, 754 (1st Cir.
          _____    ____________________________

          1996).   As  such, we  must apply  the normal  standard by  which

          courts review  arbitration decisions  pursuant to the  RLA.   See
                                                                        ___

          Trial v. Atchison, Topeka &amp; Santa  Fe Ry., 896 F.2d 120, 123 (5th
          _____    ________________________________

          Cir. 1990).

                    "Judicial review  of an arbitration award  is among the

          narrowest known in the law."   Maine Cent. R. Co. v.  Brotherhood
                                         __________________     ___________

          of  Maintenance of  Way Employees,  873 F.2d  425, 428  (1st Cir.
          _________________________________

          1989).  Under the RLA, an award  by a Public Law Board can be set

          aside  only  if:    (1) the  Board  failed  to  comply  with  the

          requirements of the RLA; (2) the Board exceeded its jurisdiction;

          or (3)  the award was  the product  of fraud or  corruption.   45


                                         -5-














          U.S.C.    153 First  (q).  While  the limited  scope of  judicial

          review  "is not the equivalent to granting limitless power to the

          arbitrator,"   Georgia-Pacific   Corp.   v.  Local   27,   United
                         _______________________       ____________________

          Paperworkers  Intern. Co., 864 F.2d 940, 944 (1st Cir. 1989), "as
          _________________________

          a general  proposition, an arbitrator's factual  findings are not

          open to  judicial challenge,"  El Dorado  Tech.  Servs. v.  Uni n
                                         ________________________     _____

          General  de Trabajadores de Puerto  Rico, 961 F.2d  317, 320 (1st
          ________________________________________

          Cir. 1992).   Where, as here,  issues of fraud or  corruption are

          not raised, we ask "whether the arbitrators did the job they were

          told  to  do --  not  whether  they did  it  well, correctly,  or

          reasonably,  but simply  whether they  did it."   Brotherhood  of
                                                            _______________

          Locomotive Eng'rs v. Atchison,  Topeka and Santa Fe Ry.  Co., 768
          _________________    _______________________________________

          F.2d 914, 921 (7th Cir. 1985).

                                      DISCUSSION
                                      DISCUSSION
                                      __________

                    In her revised Award,  ultimately adopted by the Board,

          Referee Wesman concluded that  because the First Circuit,  in its

          December  22, 1986, decision,  reversed the part  of the district

          court's  order  that  restored  the  seniority  of  the  affected

          employees,  but  the B&amp;M  failed to  retract  its July  23, 1986,

          memorandum   restoring  such  seniority,  the  issue  of  whether

          claimants were  deprived of their  seniority was "moot."   Public

          Law Board No. 4699, Award No. 6, p. 10.  The    district    court

          ordered the enforcement of Award No. 6 because  it concluded that

          "the  decision that it is not necessary to interpret the contract

          is a decision which is entitled to the same level of deference as

          a  finding  of contractual  meaning."   Boston  &amp; Maine  Corp. v.
                                                  ______________________


                                         -6-














          Brotherhood  of Maintenance  of  Way  Employees, No.  94-321-P-C,
          _______________________________________________

          slip. op. at 14 (D.  Me. 1995).  The district court  so concluded

          because it read the Award  as "a legal decision based on  factual

          determinations"  to  which "[c]ourts  are bound  to  defer .  . .

          unless the arbitrator has manifestly  disregarded the law."   Id.
                                                                        ___

          at 15.  The district court found no such manifest disregard.

                    On  appeal,  the B&amp;M  contends  that,  because the  RLA

          directs that  the role of a  public law board is  to interpret or

          apply the  provisions of  a collective bargaining  agreement, and

          because the instant parties' agreement did not expand the Board's

          jurisdiction  beyond that set by the RLA, by failing to interpret

          and apply the  CBA in making her decision  the Board exceeded its

          authority.  The B&amp;M buttresses this argument by claiming that the

          arbitrator's failure to interpret or apply the  CBA violated this

          court's prior  conclusion that the disputes  in question required

          the  interpretation or application of the CBA.  See Railway Labor
                                                          ___ _____________

          Executives'  Ass'n v. Boston and  Maine Corp., 808  F.2d 150, 159
          __________________    _______________________

          (1st Cir. 1986), cert. denied, 484 U.S. 830 (1987).1 
                           ____________



                              
          ____________________

          1  We  also reject the B&amp;M's  contention that the  district court
          made a finding of fact that the arbitrator failed to interpret or
          apply  the  CBA.   In  review  of  RLA  arbitration, the  factual
          findings of the arbitral panel are "conclusive" upon the district
          court.  45 U.S.C.    153 First(q).  Thus, the district  court was
          not  obligated to  make  findings of  fact  for the  purposes  of
          Federal Rule  of Civil  Procedure 52(a),  see  Makuc v.  American
                                                    ___  _____     ________
          Honda Motor Co.,  835 F.2d 389, 394 (1st Cir.  1987), and indeed,
          _______________
          the district court properly noted that  it lacked jurisdiction to
          review the factual findings of the panel, Boston &amp; Maine Corp. v.
                                                    ____________________
          Brotherood of Maintenance of  Way Employees, No. 94-321-P-C, slip
          ___________________________________________
          op. at 17 (D. Me. November 9, 1995).

                                         -7-














                    As an initial matter we reject the contention that  our

          previous opinion directed that  the Board construe the CBA.   The

          B&amp;M points to a statement in our previous opinion that "[w]hether

          a  party is in breach of a  collective bargaining agreement . . .

          'requires   the  interpretation   [and]  application'"   of  that

          agreement.   Railway Executives' Assoc., 808 F.2d at 159 (quoting
                       __________________________

          45  U.S.C.    153, First  (1) (RLA)).    However, there,  we were

          responding to the district  court's exercise of jurisdiction over

          an  arbitrable "minor"  dispute,  which was  not first  litigated

          before an appropriate  arbitration board --  as the RLA  directs.

          See  45  U.S.C.     153, First  (providing  that  arbitration  of
          ___

          disputes over contract interpretation is compulsory).  See, e.g.,
                                                                 ___  ____

          Andrews v. Louisville R.R.  Co., 406 U.S. 320,  323 (1972).   Our
          _______    ____________________

          statement regarding "interpretation" and "application" of the CBA

          is  best read as distinguishing  the job of  an arbitration board

          under  the RLA from the  district court's proper  exercise of its

          jurisdiction.   In that  light, our previous  language cannot  be

          construed  as limiting  the Board  to interpreting  the contract,

          rather than  exercising the  full  authority afforded  it by  the

          parties.

                    We  turn to  the question  of the  proper scope  of the

          arbitrator's authority.  The B&amp;M  asks us to adopt  the view that

          the  Board's  sole  authority  was  to  apply and  interpret  the

          provisions of the  CBA that  the parties brought  before it,  and

          that by dismissing the issue brought before it as moot, the Board

          exceeded that  authority.   We cannot accept  such a  restrictive


                                         -8-














          reading of the scope of arbitration in this case.  We have stated

          before that  "once an  issue has  been committed  to arbitration,

          both  the  CBA and  the submission  itself  should be  taken into

          account in determining the  scope of the submission."   El Dorado
                                                                  _________

          Tech. Servs., 961 F.2d at 320.   In El Dorado Technical Services,
          ____________                        ____________________________

          an employer argued that  an arbitrator exceeded the scope  of his

          authority  by  taking  into  account provisions  other  than  the

          particular provision under which  the union complained.  Id.   In
                                                                   ___

          response, we concluded that "[a]n  arbitrator's view of the scope

          of the  issue committed to his  [or her] care is  entitled to the

          same far-reaching  respect and deference as  is normally accorded

          to the  arbitrator's interpretation of  the collective bargaining

          agreement  itself."   Id. at 321.   As  a result,  we rejected as
                                ___

          "bordering on the chimerical" the  view that an arbitrator  could

          exceed the scope  of his  authority by electing  to consider  the

          agreement in question as a whole.  Id.  We do so again here.
                                             ___

                    Similarly,  B&amp;M  claims that  the arbitrator  failed to

          interpret the CBA in this  case, in particular the CBA's  Rule 13

          governing the retention of seniority rights during furlough.  The

          Board  concluded  that  because  B&amp;M had  restored  these  rights

          pursuant  to the  district court's  ruling in  1986, and  did not

          retract  this restoration  pursuant to  the First  Circuit's 1986

          reversal,  the  issue  of  whether the  B&amp;M  properly  terminated

          employees' seniority is "moot."   While the instant case  differs

          from El Dorado Technical Services in  that there the arbitrator's
               ____________________________

          ruling was challenged on appeal for considering provisions of the


                                         -9-














          CBA that were not  submitted for arbitration for the  parties, we

          think that El Dorado Technical Services at the very least directs
                     ____________________________

          that the Board's decision  not to interpret Rule 13  cannot alone

          support the conclusion that  the Board exceeded the scope  of its

          authority, despite the fact  that the parties' submission focused

          on Rule 13.    The parties'  submission agreement in  fact stated

          that  the "Board shall have  jurisdiction only of  the claims and

          grievances" shown  on an attached list  containing the claimants'

          names that included the  Rule 13-related issue of seniority.   We

          conclude   the   Board's   mootness   ruling   is   a   plausible

          interpretation  of the  "claims and  grievances" language  in the

          submission.  We defer,  per El Dorado, to the  Board's conclusion
                                      _________

          that the "claims" consisted of only the question of remedy, since
                                         ____                 ______

          the B&amp;M essentially conceded the question of liability.  Cf. Pack
                                                       _________   ___ ____

          Concrete, Inc.  v. Cunningham,  866 F.2d  283,  285-86 (9th  Cir.
          ______________     __________

          1989)  (deferring  to  the  arbitrator's  ruling  that  submitted

          "seniority  and  recall"  issue  also  allowed  consideration  of

          propriety of discharge").

                    What we are left with, then, is the question of whether

          an  arbitrator's  decision  that  the existing  record  does  not

          present a  justiciable controversy,  in and of  itself, oversteps

          the arbitrator's authority pursuant to the RLA.  We conclude that

          the Board cannot seriously be considered to  have overstepped its

          bounds, where, as here, the arbitrator's decision was grounded in

          B&amp;M's  allowance via its memorandum -- prior to arbitration -- of

          the  remedy sought by employees.  The Supreme Court has clarified


                                         -10-














          that arbitration  boards under the RLA are  not restricted simply

          to  the   interpretation  of  the  agreement   set  before  them.

          Transportation-Communication Emp. Union v. Union Pac. R. Co., 385
          _______________________________________    _________________

          U.S.  157, 165-66 (1966).  In fact, the Supreme Court has ordered

          arbitration boards "to resolve th[e] entire dispute not only upon

          the contract  between the railroad and [employees], but 'in light

          of .  . . [contracts] between  the railroad' and  any other union

          'involved'  in the  overall  dispute, and  upon consideration  of

          'evidence  as to  usage, practice  and custom'  pertinent to  all

          these  agreements."   Id.  (quoting  Order of  Ry.  Conductors v.
                                ___            _________________________

          Pitney, 326 U.S. 561, 567 (1946)); see also International Bhd. of
          ______                             ________ _____________________

          Teamsters v. Pan  Am World Servs., Inc., 675  F. Supp. 1319, 1322
          _________    __________________________

          (M.D. Fla. 1987).   In the instant case, the Board's decision was

          certainly made in  light of  the CBA, upon  consideration of  the

          current practice  among B&amp;M and the  employees involved pertinent

          to the CBA.  Specifically, because B&amp;M had continue to afford its

          employees their "disputed"  seniority while being free not  to do

          so, the Board  found moot  the issue of  whether the  complaining

          employees could have complied  with Rule 13 of the  CBA, pursuant

          to which they lost their seniority.

                    It is well settled that a case is moot "when the issues

          presented  are no  longer 'live'  or the  parties lack  a legally

          cognizable interest in the  outcome," United States Parole Comm'n
                                                ___________________________

          v.  Geraghty,  445  U.S.  388,  396  (1980)  (quoting  Powell  v.
              ________                                           ______

          McCormack, 395  U.S. 486, 495-96 (1969)),  or alternatively, when
          _________

          the  "party invoking federal court jurisdiction" no longer has "a


                                         -11-














          personal stake in the outcome of the controversy."  Geraghty, 445
                                                              ________

          U.S. at 397.   An exception to the mootness doctrine exists where

          it appears that all issues in  a case have been resolved, but the

          issues are "capable of repetition, yet evading review."  Southern
                                                                   ________

          Pac. Terminal Co. v. ICC, 219 U.S. 498 (1911).  One might dispute
          _________________    ___

          whether   the  Board  was  correct  as  a  legal  matter  in  its

          determination that the matter in question was moot.  However, for

          us  to assess the merits  of that determination  would exceed our

          own  role  in  reviewing  an   arbitrator's  decision.    We  are

          constrained  to ask only whether the Board's members "did the job

          they were told  to do."   Brotherhood of  Locomotive Eng'rs,  768
                                    _________________________________

          F.2d at 921.  That job was  to resolve the dispute "in light  of"

          the  CBA  and  the relevant  practice  between  the  B&amp;M and  the

          complaining  employees.  The Board  certainly did this  job, in a

          manner  that  cannot  even   be  characterized  as  arbitrary  or

          capricious  --  a standard  which would  still not  be adequately

          deferential to  the Board's  decision.  See  Loveless v.  Eastern
                                                  ___  ________     _______

          Airlines, 681 F.2d 1272,  1276 (11th Cir. 1982) (noting  that the
          ________

          Senate  Labor   Committee  rejected  language   that  would  have

          permitted  courts to  vacate  arbitral awards  under  the RLA  as

          "arbitrary or capricious").  Our inquiry ends there.     

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    As a  result  of the  foregoing,  the judgment  of  the

          district court is affirmed.
                            affirmed.
                            ________






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